       Case 25-30155 Document 25 Filed in TXSB on 03/19/25    Page 1 of 1
                                                      Page 1 of 1


UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2025-30155
      ALLIANCE FARM AND RANCH, LLC



      Case Type :                    bk
      Case Number :                  2025-30155
      Case Title :                   ALLIANCE FARM AND RANCH, LLC

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